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   IT IS ORDERED as set forth below:



   Date: October 28, 2021
                                                         _________________________________

                                                                  Jeffery W. Cavender
                                                             U.S. Bankruptcy Court Judge

 ________________________________________________________________




                            UNITED STATES BANKRUPTCY COURT
                             NORTHERN DISTRICT OF GEORGIA
                                    ATLANTA DIVISION

IN RE:                                          :          CASE NO. 18-58335-JWC
                                                :
KENNETH PAUL WELLINGTON,                        :          CHAPTER 7
                                                :
         Debtor.                                :
                                                :


  ORDER APPROVING TRUSTEE’S FINAL REPORT AND APPLICATIONS FOR
COMPENSATION AND REIMBURSEMENT OF EXPENSES OF THE TRUSTEE AND
                PROFESSIONALS OF THE TRUSTEE

         On September 30, 2021, the Chapter 7 Trustee (“Trustee”) filed applications for payment

of compensation in the amount of $37,768.27 and expenses in the amount of $127.68 to the

Chapter 7 Trustee [Doc. No. 58-1], compensation in the amount of $23,117.50 and expenses in

the amount of $529.68 to Arnall Golden Gregory LLP, the Chapter 7 Trustee’s counsel [Doc.

No. 58-2], and compensation in the amount of $13,410.00 and expenses in the amount of

$390.23 to Hays Financial Consulting, LLC, the Chapter 7 Trustee’s accountants [Doc. No. 58-

3] (collectively, the “Fee Applications”).



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        Also on September 30, 2021, Trustee filed his Trustee’s Final Report (TFR) [Doc. No.

58] (the “Trustee’s Final Report”) in which he proposed to make certain distributions to

creditors, including the above mentioned professionals.

        On October 1, 2021, Trustee filed a notice [Doc. No. 59] (the “Notice”) of the Fee

Applications, setting the Fee Applications and Trustee’s Final Report for hearing on October 28,

2021 (the “Hearing”).

        Trustee certifies that he served the Notice on all creditors and parties in interest entitled

to notice. [Doc. No. 59-1].

        No creditor or party in interest filed a response in opposition to the relief requested in the

Fee Applications or Trustee’s Final Report.

        Counsel for Trustee and for Trustee’s professionals appeared at the calendar call for the

Hearing. No creditors or parties in interest appeared to oppose the relief requested in the Fee

Applications or Trustee’s Final Report.

        The services sought to be compensated in the Fee Applications have been evaluated

pursuant to 11 U.S.C. §§ 326 and 330. The compensation requested by Trustee is equal to the

statutory fee provided in 11 U.S.C. §326, and appears reasonable under the circumstances. The

compensation of Trustee’s professionals is reasonable under the circumstances.            Under the

principles set forth in Norman v. Housing Authority of City of Montgomery, 836 F.2d 1292 (11th

Cir. 1988), and this Court’s knowledge of prevailing market rates and an evaluation of the skill,

experience, and reputation of the professional applicants, the hourly rates which they seek to

charge are reasonable.     Review of the Fee Applications shows the hours expended were

reasonable. The Court further finds that the expenses, for which reimbursement is sought, were

reasonable and necessary in rendering the services. No factors are present in this case that




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require reduction or enhancement of the lodestar. Accordingly, and for good cause shown, it is

hereby

         ORDERED that the Fee Applications and Trustee’s Final Report are APPROVED and

this approval is made final. It is further

         ORDERED that the fees and expenses requested are allowed as compensation and

reimbursement of expenses as follows:

                Applicant                    Docket     Fees       Expenses       Total
                                              No.
 S. Gregory Hays, Chapter 7 Trustee           58-1    $37,768.27    $127.68       $37,895.95
 Arnall Golden Gregory LLP,                   58-2    $23,117.50    $529.68       $23,647.18
 attorneys for Chapter 7 Trustee
 Hays Financial Consulting, LLC,              58-3    $13,410.00    $390.23       $13,800.23
 accountants for Chapter 7 Trustee

It is further

         ORDERED that Trustee is authorized and directed to pay said compensation and

reimbursement of expenses approved herein based on available funds and as expressly set forth

in Trustee’s Final Report.

                                     [END OF DOCUMENT]

Order prepared and presented by:

ARNALL GOLDEN GREGORY LLP
Attorneys for Trustee

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Identification of parties to be served:

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S. Gregory Hays, Hays Financial Consulting, LLC, 2964 Peachtree Rd, NW, Suite 555, Atlanta,
GA 30305

Michael J. Bargar, Arnall Golden Gregory LLP, 171 17th Street, NW, Suite 2100, Atlanta, GA
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